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                                                                               2018 Dec-17 AM 09:43
                                                                               U.S. DISTRICT COURT
                                                                                   N.D. OF ALABAMA


                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       SOUTHERN DIVISION


BARRY J. WOOD,                             }
                                           }
      Plaintiff,                           }
                                           }
v.                                         }   Case No.: 2:17-cv-01897-MHH
                                           }
VELOCITY INVESTMENTS, LLC,                 }
et al.,                                    }
                                           }
      Defendants.                          }



                                      ORDER

      The parties have filed a Joint Stipulation of Dismissal With Prejudice. (Doc.

20). The Court ORDERS that this action is DISMISSED WITH PREJUDICE,

with the parties to bear their own fees, costs, and expenses.

      The Court DIRECTS the Clerk of Court to please close the file.

      DONE and ORDERED this December 17, 2018.


                                     _________________________________
                                     MADELINE HUGHES HAIKALA
                                     UNITED STATES DISTRICT JUDGE
